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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             HELENA DIVISION

UNITED STATES OF AMERICA,
                                                           CR-20-08-H-BMM
                          Plaintiff,

       vs.                                                       ORDER

JEFFREY ROBERT IGOE,

                          Defendant.




      Defendant Jeffrey Robert Igoe filed a series of motions in the above-

captioned criminal case. (Docs. 18, 20, 22, 26). The Court held a hearing on this

motion on November 5, 2020. (Doc. 57). Trial is set for November 9, 2020.

      For the reasons stated in open Court, IT IS ORDERED that:

          Igoe’s Motion to Sever Counts (Doc. 18) is DENIED without

             prejudice;

          Igoe’s Motion for Bill of Particulars (Doc. 20) is DENIED without

             prejudice;

          Igoe’s Motion to Dismiss Counts I and III for Multiplicity or, in the

             Alternative for the Government to Elect Between Counts (Doc. 22) is

             DENIED without prejudice; and
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    Igoe’s Motion to Dismiss Count III or in the Alternative for Adverse

      Inference Instruction (Spoliation) (Doc. 26) is DENIED without

      prejudice.

Dated the 6th day of November, 2020.




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